Case 1:16-cv-01055-STA-egb Document 29 Filed 05/26/16 Page 1 of 2                PageID 130



                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION
______________________________________________________________________________

CESAR GALLARDO,
individuals on behalf of himself and
others similarly situated,
                                                          No. 1:16-cv-01055
              Plaintiffs,

v.

LOS PORTALES BOLIVAR LLC,
LOS PORTALES HENDERSON LLC,
and TOMAS LEON, and ROY SALVADOR                          JURY DEMAND
                                                          FLSA COLLECTIVE ACTION
              Defendants.


                              NOTICE OF FILING
______________________________________________________________________________

     COMES NOW PLAINTIFF, Cesar Gallardo, by and through counsel, and files the attached

Consent Form with regard to the above-captioned matter.

                                                  Respectfully submitted,

                                                  GILBERT RUSSELL McWHERTER
                                                  SCOTT & BOBBITT PLC

                                                  s/ Michael L. Russell
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Case 1:16-cv-01055-STA-egb Document 29 Filed 05/26/16 Page 2 of 2                      PageID 131



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                                                     ATTORNEYS FOR PLAINTIFF




                                CERTIFICATE OF SERVICE

        I, the undersigned, do hereby certify that a true and exact copy of the foregoing has been
mailed electronically via the Court’s electronic filing system, to all counsel of record on this the
26th day of May, 2016:



                                                     s/Michael L. Russell
